      Case 2:11-cr-00119-WBS Document 174 Filed 10/16/13 Page 1 of 2


 1   Philip Cozens, State Bar Number 84051
 2   Attorney at Law
 3   1007 Seventh Street, Suite 500
 4   Sacramento, CA 95814
 5
 6   Telephone: (916) 443-1504
 7   Fax: (916) 443-1511
 8   Email: pcozens@aol.com
 9
10   Attorney for Defendant Carolyn Huerta
11
12
13
14                           IN THE UNITED STATES DISTRICT COURT
15
16                         FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-0119 WBS
19                                       )
20               Plaintiff,              )                STIPULATION FOR CONTINUANCE OF
21                                       )                DEFENDANT HUERTA’S
22                                       )                SENTENCING HEARING FROM
23               v.                      )                OCTOBER 21, 2013 TO DECEMBER 23,
24                                       )                2013
25   CAROLYN HUERTA, et al.              )
26                                       )
27         Defendants.                   )
28   ____________________________________)
29
30          It is stipulated between the United States Attorney’s Office for the Eastern District of
31   California by Assistant United States Attorney Jason Hitt, Esq. and Defendant Carolyn Huerta
32   through her attorney Philip Cozens, Esq., that:
33          The Sentencing Hearing currently scheduled for October 21, 2013, at 9:30 a.m. in Judge
34   Shubb’s Court be re-scheduled for December 23, 2013 at 9:30 a.m. in Judge Shubb’s Court. The
35   stipulated continuance is necessary for probation report to be prepared.
36          Time should be excluded for defense attorney preparation pursuant to Local Code T4 and
37   the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial. Time
38   should be excluded from speedy trial calculations from October 21, 2013 through and including
39   December 23, 2013.


     STIPULATION FOR CONTINUANCE OF SENTENCING HEARING         -1-
      Case 2:11-cr-00119-WBS Document 174 Filed 10/16/13 Page 2 of 2



 1          It is so stipulated.
 2   Dated: October 14, 2013                      /s/ Jason Hitt, Esq.____________
 3                                                Jason Hitt, Esq.
 4                                                Assistant United States Attorney
 5                                                Eastern District of California
 6
 7                                                /s/ Philip Cozens_________________
 8                                                Philip Cozens
 9                                                Attorney for Defendant Carolyn Huerta
10                                               ORDER
11                  The court, having read and considered the above-stipulation and finding good
12   cause therefore, orders that the Sentencing Hearing currently scheduled for October 21, 2013, at
13   9:30 a.m. in Judge Shubb’s Court be re-scheduled for December 23, 2013 at 9:30 a.m. in Judge
14   Shubb’s Court. Time is excluded for defense attorney preparation pursuant to Local Code T4
15   and the court finds the ends of justice outweigh the Defendant’s and the public’s interest in a
16   speedy trial. Time will be excluded from speedy trial calculations from October 21, 2013
17   through and including December 23, 2013.
18          Dated: October 15, 2013
19
20
21




     STIPULATION FOR CONTINUANCE OF SENTENCING HEARING         -2-
